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         United States Court of Appeals
              for the Fifth Circuit                                   United States Court of Appeals
                                                                               Fifth Circuit
                               ___________
                                                                             FILED
                                                                     September 4, 2024
                                No. 16-60670
                               ___________                              Lyle W. Cayce
                                                                             Clerk
State of Texas; Texas Commission on Environmental
Quality,

                                                                    Petitioners,

                                    versus

United States Environmental Protection Agency;
Michael S. Regan, in his official capacity as Acting Administrator of
the United States Environmental Protection Agency,

                                                                   Respondents.
                ______________________________

                 Petition for Review from an Order of the
                    Environmental Protection Agency
                     Agency No. 81 Fed. Reg. 53,284
                ______________________________

ORDER:
       IT IS ORDERED that Petitioners’ unopposed motion for an
extension of 14 days, or, to and including September 20, 2024, to file the reply
brief is GRANTED.


                                    /s/ Jennifer W. Elrod
                                    Jennifer Walker Elrod
                                    United States Circuit Judge
